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U.S, DISTRICT C
DISTRICT OF MAING.

FORM TO BE USED BY A PRISONER IN FILING A COMPLAINT Uf

 

 

 

 

 

 

CIVIL RIGHTS ACT, 42 U.S.C. § 1983, WITH JURISDICTION ILED
UNDER 28 U.S.C. § 1343 tit OE -2 P 2: 2y
UNITED STATES DISTRICT COURT
DEPUT
DISTRICT OF MAINE VCLERK
ule Deswiacore )
[Enter above the full name of )
the plaintiff in this action} )
)
v. } Docket no.
)
Yor Coonku oul )
— )
)
)
)
{Enter above the full name of }
the defendant(s) in this action] )

L

Previous Lawsuits

A.

Have you begun other lawsuits in state or federal court dealing with the
same facts involved in this action or otherwise relating to your
imprisonment? Yes[ ] No [Vv J

If your answer to “A” is yes, describe the lawsuit in the space below.
{If there is more than one lawsuit, describe the additional lawsuits on
another piece of paper, using the same outline]

1. Parties to this previous lawsuit

Plaintiff(s)

 

 

Defendant(s)

 

 

2. Court [If federal court, name the district; if state court, name the county]

 

3. Docket number

 
Il.

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4, Name of judge whom case was assigned

5. Outcome [for example: It is still pending? Was it dismissed? Was it
appealed]

 

6. Approximate date of filing lawsuit

 

7, Approximate date of outcome

Place of present confinement ( OAD claad Cox M4 \Ch \

A. Is there a prisoner grievance procedure in this institution?
Yes[/]  Nof ]

B. Did you present the facts relating to your compliant in the state prisoner
grievance procedure? Yes[ J No [V ]

C. If your answer is “Yes”

 

2. What was the result?

 

 

 

Parties

(In item “A” below, place your name in the first blank and place your present address in
the second blank. Do the same for additional plaintiffs, if any.]

A. Name of Plaintiff Pute Veet acon
Address = \\ LA yu

[In item “B” below, place the full name of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use item
“C” for the names, positions, and places of employment of any additional defendants. ]

B. Name of Defendant Wins Vina \—
ay T

Position Yara Cox bk Yop ed

Address | | : rexel Sais Meco Deane CHC Ye.
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C. Additional Defendant(s CO Yenadn Houten CIO auc
neha CO Rlec Cotes CO Cord These, ClO
Aderra Vespa Or Oh Clo tovlal Avot o (Sante

Ny \vel\
IV. Statement SE SECON Tleatin aeknece, ae ocd NE we

[State here as briefly as possible the facts of your case. Describe how each
defendant is involved. Include also the names of other persons involved, dates and
places. Do not give any legal arguments or cite any cases or statutes. If you intend
to allege 2 number of related claims, number and set forth each claim in a separate
paragraph. Use as much space as you need. Attach extra sheet if necessary.]

Please See corde A ridden me0oc’s

 

 

 

 

 

Vv. Relief

[State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes. ]

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Sor _¢ EL MAA, Lau Canak gins.

 

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Vac sndlodiOo Lau Can Canoes“ aad Dowacscees

SuekouceAmeary, CRD
YORE

Signature of Plaintiff

 

Signed this _| day of | ecernsoec , 202K

I declare under penalty of perjury that the foregoing is true and correct.
2/1 COC\ Led dee

Datd ble of Plaintiff

 
